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ECF

McCARTER
“ENGLISH

ATTORNEYS AT LAW

 

May 22, 2019
VIA ECF

Hon. Esther Salas, U.S.D.J.
United States District Court
District of New Jersey
MLK Jr. Federal Building & US Courthouse
50 Walnut St., Room 5076
Newark, New Jersey 07102

David R. Kott Re: Williams v. BASF Catalysts, LLC, et al.

Partner Civil Action No. 2:11-cv-01754-ES-JAD
T. 973-639-2056

F, 973-624-7070
dkott@mccarter.com Dear Judge Salas:

As you may know, Retired Chief Judge Jose L. Linares, who at one time presided
over this matter, as of May 22, 2019, has become a member of our firm. Pursuant

MeCarter & English, LLP to RPC 1.12(b), Judge Linares has been screened from any participation in this
Four Gateway Center matter and will not be apportioned any part of the fee therefrom. Also in accordance
100 Mulberry Street with RPC 1.12(b), we give you this notice to enable you and counsel, if you wish, to
Newark, NJ 07102-4056 . . . .

T. 973.622.4444 ascertain compliance with the provisions of the rule.

F, 973.624.7070

wunw.mecarter.com Please contact me if you have any questions.

Respectfully,

N_-

BOSTON David R. Kott

HARTFORD cc: All Counsel of Record (via ECF)
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NEWARK

EAST BRUNSWICK

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WASHINGTON, DC

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